Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 1 of 17 Page ID #:3653



    1
        Morgan E. Smith (SBN 293503)            Alan Jay Weil (SBN 63153)
    2   morgan.smith@finnegan.com               ajweil@kbkfirm.com
        Daniel R. Mello Jr. (SBN 327514)        Amanda D. Barrow (SBN 313583)
    3   daniel.mello@finnegan.com               abarrow@kbkfirm.com
    4   FINNEGAN, HENDERSON,                    KENDALL BRILL & KELLY LLP
        FARABOW, GARRETT & DUNNER,              10100 Santa Monica Blvd., Ste. 1725
    5   LLP                                     Los Angeles, CA 90067
        3300 Hillview Avenue                    Telephone: (310) 556-2700
    6   Palo Alto, California 94304             Facsimile: (310 556-2705
    7   Telephone: (650) 849-6600
        Facsimile: (650) 849-6666
    8
        Mark Sommers (pro hac vice)
    9   mark.sommers@finnega.com
   10   Patrick J. Rodgers (pro hac vice)
        patrick.rodgers@finnegan.com
   11   FINNEGAN, HENDERSON,
        FARABOW, GARRETT & DUNNER,
   12   LLP
   13   901 New York Avenue, NW
        Washington, DC 20001-4064
   14
        Attorneys for Defendant and
   15   Counterclaim Plaintiff Le-Vel Brands,
   16   LLC
   17                    UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
   18
                              SOUTHERN DIVISION
   19

   20   THRIVE NATURAL CARE, INC.,              CASE NO. 2:21-cv-02022-DOC
                                                (KES)
   21                    Plaintiff and
   22                    Counterclaim           DEFENDANT AND
                         Defendant,             COUNTERCLAIM PLAINTIFF
   23                                           LE-VEL BRANDS’ NOTICE OF
                    v.                          PARTIAL OBJECTION AND
   24                                           PARTIAL OBJECTION TO
   25   LE-VEL BRANDS, LLC,                     ORDER OF SPECIAL MASTER
                                                PURSUANT TO RULE 53(F)
   26                    Defendant and
                         Counterclaim
   27                    Plaintiff.
   28
                                                        LE-VEL’S NOTICE OF PARTIAL OBJECTION
                                                                  Case No. 2:21-cv-02022-DOC-KES
        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 2 of 17 Page ID #:3654




    1                                         TABLE OF CONTENTS
    2                                                                                                                 Page
    3 I.       INTRODUCTION ............................................................................................. 2
      II.      BACKGROUND ............................................................................................... 2
    4
               A.  Case Background .................................................................................... 2
    5          B.  The Privilege Dispute.............................................................................. 2
    6          C.  The Special Master’s Order .................................................................... 4
        III.   LEGAL STANDARD ....................................................................................... 5
    7          A.  The Applicable Standard of Review is De Novo .................................... 5
    8          B.  Attorney-Client Privilege ........................................................................ 6
        IV.    ARGUMENT .................................................................................................... 8
    9
               A.  Concealment of the Last Word of Redaction #11 Is Necessary to
   10              Protect an Attorney-Client Privileged Communication .......................... 8
               B.  Having Shown the Redacted Word Is Privileged, the Word
   11              Should Remain Redacted ...................................................................... 11
   12 V.       CONCLUSION ............................................................................................... 12

   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                       i               Case No. 2:21-CV-02022-DOC-KES
                            LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 3 of 17 Page ID #:3655




    1
                                                TABLE OF AUTHORITIES
    2
                                                                                                                        Page(s)
    3
    4 Federal Cases
    5 Admiral Ins. Co. v. United States Dist. Court,
         881 F.2d 1486 (9th Cir. 1989) .............................................................................. 6
    6
    7 Am. Fed’n of Musicians v. 212 Prods. LLC,
         No. 20-cv-07255-JAK-KS, 2021 U.S. Dist. LEXIS 252718 (C.D.
    8    Cal. Sep. 27, 2021) ........................................................................................... 7, 9
    9
      Dickson v. Century Park E. Homeowners Ass’n,
   10    No. 2:20-CV-05152J-WHM-AAx, 2021 WL 3148878 (C.D. Cal.
   11    Mar. 9, 2021) ............................................................................................... passim

   12 Fisons Ltd. v. Capability Brown Ltd.,
         209 U.S.P.Q. (BNA) 167 (T.T.A.B. Nov. 26, 1980)........................................ 7, 8
   13
   14 In re Grand Jury Investigation,
         974 F.2d 1068 (9th Cir.1992) ..................................................................... 6, 9, 10
   15
      Munoz v. 7-Eleven, Inc.,
   16    No. CV 18-3893-RGK, 2019 U.S. Dist. LEXIS 109781 (C.D. Cal.
   17    May 1, 2019)................................................................................................. 7, 8, 9
   18 Pac. Packaging Concepts, Inc. v. Nutrisystem, Inc.,
   19    No. CV 19-4755-ODW(EX), 2020 WL 6694339 (C.D. Cal. Sept.
         11, 2020) ......................................................................................................... 7, 11
   20
      Performance Credit Corp. v. EMC Mortg. Corp.,
   21    No. SACV 07–383 DOC (RNBx), 2009 WL 10675583 (C.D. Cal.
   22    June 1, 2009)......................................................................................................... 5
   23 Real v. Cont’l Grp., Inc.,
   24   116 F.R.D. 211 (N.D. Cal. 1986) ............................................................. 6, 11, 12

   25 SPS Techs., LLC v. Briles Aerospace, Inc.,
        No. CV 18-9536 MWF (ASX), 2020 WL 3050777 (C.D. Cal. Feb.
   26   18, 2020) ........................................................................................................... 7, 8
   27
      United States v. Chen,
   28   99 F.3d 1495 (9th Cir. 1996) ................................................................................ 7
                                                          ii               Case No. 2:21-CV-02022-DOC-KES
                                LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 4 of 17 Page ID #:3656




    1 Rules
    2 Fed. R. Civ. P. 26 ................................................................................................. 6, 11
    3
      Fed. R. Civ. P. 53 ............................................................................................. 1, 5, 12
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                        iii              Case No. 2:21-CV-02022-DOC-KES
                              LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 5 of 17 Page ID #:3657




    1                              NOTICE OF OBJECTION
    2        TO THE HONORABLE COURT, ALL PARTIES, AND THEIR
    3 ATTORNEYS OF RECORD:
    4        Pursuant to Fed. R. Civ. P. 53(f), the Local Rules, and the Court’s Order
    5 Appointing Special Master (Dkt. 89) section D(12), Defendant/Counterclaim
    6 Plaintiff Le-Vel Brands, LLC (“Le-Vel”) submits this partial objection to the Order
    7 of Special Master Regarding Remaining Discovery Disputes Raised by
    8 Plaintiff/Counterclaim Defendant Thrive Natural Care, Inc.’s (“TNC”) March 23,
    9 2022 Letter Brief (Dkt. 97-1, “the Special Master’s Order”) which was filed with the
   10 Court on May 4, 2022 and which has not yet been entered by the Court.
   11        PLEASE TAKE NOTICE that Le-Vel respectfully requests a hearing on its
   12 objection at 8:30 a.m. on Monday, June 27, 2022 or as soon thereafter as this matter
   13 may be heard, in Courtroom 10A of the above-entitled Court located at 411 West
   14 Fourth Street, Santa Ana, CA 92701.
   15        Le-Vel’s partial objection is based on this Notice, the accompanying
   16 Objection concurrently filed, the pleadings and papers on file with the Court, all
   17 arguments and evidence as may be presented at a hearing on the Objection, if
   18 ordered, and all matters of which the Court may take judicial notice.
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                 1                Case No. 2:21-CV-02022-DOC-KES
                       LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 6 of 17 Page ID #:3658




    1                                      OBJECTION
    2 I.     INTRODUCTION
    3        Le-Vel narrowly requests de novo review of the Special Master’s Order
    4 regarding only Exhibit 4, and specifically, the ruling that “the last word of
    5 ‘Redaction # 11’ must be unredacted” in Exhibit 4. Dkt. 97-1 at 3. Le-Vel does not
    6 dispute Judge Guilford’s ruling that the remaining portion of Redaction #11 was
    7 properly redacted because it “has been properly designated as protected by the
    8 attorney client privilege or work product exception.” Id.
    9        Le-Vel previously demonstrated to the Special Master that the entirety of
   10 Redaction #11 was protected by the attorney-client privilege and should therefore
   11 remain redacted. However, removing the redaction for the last word of Redaction
   12 #11 reveals, in and of itself, the substance of an attorney-client communication.
   13 Le-Vel respectfully requests that this portion of the Special Master’s Order be
   14 reviewed de novo.
   15 II.    BACKGROUND
   16        A.     Case Background
   17        This case involves a trademark dispute involving Le-Vel’s and TNC’s
   18 competing infringement claims of their respective rights over the trademark
   19 THRIVE. The Court has familiarly with this dispute given its earlier denial of
   20 TNC’s motion for a preliminary injunction. (Dkt. 72).
   21        B.     The Privilege Dispute
   22        TNC filed a discovery dispute letter brief regarding privilege issues with
   23 Judge Guilford (appointed by this Court as Special Master) on March 23, 2022. Id.
   24 at Smith Decl. ¶ 6. A true and correct copy of TNC’s March 23, 2022 letter brief
   25 (with declaration and exhibits) is attached as Exhibit A. While various issues were
   26 raised, the one relevant to this de novo review involved TNC’s request that Judge
   27 Guilford review in camera six emails that Le-Vel partially redacted on grounds of
   28 attorney-client privilege in order to determine whether Le-Vel’s redactions were

                                                 2                Case No. 2:21-CV-02022-DOC-KES
                       LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 7 of 17 Page ID #:3659




    1 appropriate. 1 Id. at 2.
    2         Each of the six emails was given an exhibit number and each redaction within
    3 the exhibits was given a redaction number to aid the Special Master’s review. The
    4 exhibit that is the subject of this partial objection is “Exhibit 4” and it contains a
    5 single redaction: “Redaction #11.” Ex. A at Exhibit 4. Le-Vel submitted an
    6 opposition letter (with declarations and exhibits) on March 30, 2022, a true and
    7 correct copy of which is attached as Exhibit B. TNC submitted a reply brief (with
    8 an exhibit) on April 6, 2022, a true and correct copy of which is attached as Exhibit
    9 C.
   10         A hearing was held regarding the parties’ dispute on April 11, 2022, during
   11 which Judge Guilford ruled that he would review the six emails in camera. A true
   12 and correct copy of Judge Guilford’s April 11 Order is attached hereto as Exhibit D.
   13 Le-Vel requested the opportunity to provide an ex parte brief regarding the bases for
   14 its privilege redactions. Id. at 2. Judge Guilford issued an Order the same day ruling
   15 that (1) Le-Vel submit unredacted versions of the six subject emails for in camera
   16 review by April 15, 2022 and (2) Le-Vel file and serve on all parties a letter brief
   17 regarding Le-Vel’s bases for privilege redactions. Id. at 3. Pursuant to the April 11,
   18 2022 Order, Le-Vel provided unredacted versions of the subject emails for in
   19 camera review, as well as a letter brief served on all parties. A true and correct copy
   20 of Le-Vel’s April 15 Supplemental Brief (with declarations) is attached as Exhibit
   21 E.
   22         In its April 15, 2022 letter brief, Le-Vel explained that it considered various
   23 trademarks for what ultimately was launched as the THRIVE SKIN anti-aging
   24 skincare product line. Id. at 1. As part of that process, Le-Vel worked with its long-
   25
   26
       Le-Vel is not challenging the in camera review of all these emails. Rather, this de
        1

   27 novo review concerns only one such email and redaction, i.e., Exhibit 4, Redaction
   28 #11.

                                                  3                Case No. 2:21-CV-02022-DOC-KES
                        LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 8 of 17 Page ID #:3660




    1 standing outside trademark counsel (Finnegan). Id. at 1; supporting Declaration of
    2 Mark Sommers (“Sommers Decl.”) ¶ 2; supporting Declaration of Drew Hoffman
    3 (“Hoffman Decl.”) ¶ 2. Le-Vel
    4                                                          during that time. Id.
    5
    6                                         . Id. Mr. Hoffman and, in one instance, Mr.
    7 Camper,
    8                     . Id.; see also Hoffman Decl. ¶ 3. This legal advice and the
    9 corresponding discussions were redacted as privileged from Exhibits 1-6. Id.
   10        Regarding Exhibit 4, Redaction #11, Le-Vel explained that, in January 2019,
   11
   12                       . Id. at 2; Sommers Decl. ¶ 20; Hoffman Decl. ¶ 21.
   13                                                                          . Id. On
   14 January 22, 2019, Mr. Camper
   15                                           . Id.
   16        Le-Vel also explained:
   17        Exhibit 4 contains an email chain between Messrs. Hoffman, Camper,
             and Gravette relating to trademark matters protected by attorney-client
   18
             privilege. Sommers Decl. ¶ 23; Hoffman Decl. ¶ 24. Redaction #11 is a
   19        January 22, 2019 communication from Mr. Camper to Mr. Gravette,
             which includes Mr. Hoffman,
   20
                                                         . Sommers Decl. ¶ 24;
   21        Hoffman Decl. ¶ 25.
                                                                               . Id.
   22
   23        Ex. E at 4-5. See also Ex. A at Exhibit 4.
   24        C.     The Special Master’s Order
   25        Following in camera review of the six unredacted emails, Judge Guilford
   26 issued the Special Master’s Order on April 28, 2022. Dkt. 97-1. The sole ruling
   27 Le-Vel seeks de novo review is the ruling that “the last word of ‘Redaction # 11’
   28 [Exhibit 4] must be unredacted.” Id. at 3.

                                                4                Case No. 2:21-CV-02022-DOC-KES
                      LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 9 of 17 Page ID #:3661




    1         With the exception of three other redactions in two other emails (which
    2 Le-Vel did not dispute), the Special Master’s Order held that “[a]ll other redactions
    3 in the six email chains relate to material that has been properly designated as
    4 protected by the attorney client privilege or work product exception, and are not
    5 ordered unredacted.” Id. (emphasis added). The Special Master’s Order is silent on
    6 why the last word of Redaction #11 was “not protected by privilege” when the rest
    7 of the redaction was protected by the privilege. Id.
    8         The Special Master’s Order directed that Le-Vel unredact the pertinent
    9 portions of the email chains within three court days of the Special Master’s Order.
   10 Id. at 4. Le-Vel produced the other two emails with the redactions
   11 modified/removed as ordered. Declaration of Mark Sommers (5/18 Sommers Decl.)
   12 at ¶ 3. Le-Vel requested a stay of the Special Master’s Order as it pertains to Exhibit
   13 4 because the deadline to produce unredacted documents would have fallen well
   14 before the deadline to lodge objections to the Special Master’s Order. See Dkt. 89 (a
   15 party who wishes to lodge objections has 14 days from the date the order is filed
   16 with the Court to do so); 5/18 Sommers Decl. at ¶ 2. Judge Guilford granted that
   17 request on May 2, staying his Order as it relates to Exhibit 4 until three days after a
   18 final ruling from the Court on any objections to his ruling. Id.
   19 III.    LEGAL STANDARD
   20         A.     The Applicable Standard of Review is De Novo
   21         Under Fed. R. Civ. Pro. 53(f)(3), the Court must decide de novo all objections
   22 unless the parties, with the court’s approval, stipulate that (a) the findings will be
   23 reviewed for clear error or (b) the findings will be final. Fed. R. Civ. Pro. 53(f)(3).
   24 “The reviewing court can ultimately ‘adopt or affirm, wholly or partly reject or
   25 reverse, or resubmit [the report and recommendation] to the master with
   26 instructions.’” Performance Credit Corp. v. EMC Mortg. Corp., No. SACV 07–383
   27 DOC (RNBx), 2009 WL 10675583, at *2 (C.D. Cal. June 1, 2009) citing Fed. R.
   28 Civ. P. 53(f)(1).

                                                 5                Case No. 2:21-CV-02022-DOC-KES
                       LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 10 of 17 Page ID #:3662




     1         B.     Attorney-Client Privilege
     2         Rule 26(b)(1) provides “[u]nless otherwise limited by court order, the scope
     3 of discovery is as follows: Parties may obtain discovery regarding any nonprivileged
     4 matter that is relevant to any party’s claim or defense and proportional to the needs
     5 of the case…” Fed. R. Civ. P. 26(b)(1)(emphasis added). “Rule 26(b)(1) makes clear
     6 that only non-privileged matter is discoverable, even if the matter is wholly relevant
     7 to the claims or defenses in the case.” Dickson v. Century Park E. Homeowners
     8 Ass’n, No. 2:20-CV-05152J-WHM-AAx, 2021 WL 3148878, at *15 (C.D. Cal. Mar.
     9 9, 2021); Real v. Cont’l Grp., Inc., 116 F.R.D. 211, 213 (N.D. Cal. 1986) (“even
    10 relevant evidence is not discoverable if such evidence is privileged.”). “And, it is
    11 well established that, absent waiver (not present here) or other exception (also not
    12 present here), the attorney-client privilege ‘cannot be overcome,’ even ‘by a
    13 showing of need.’” Dickson, 2021 WL 3148878 at *15 citing Admiral Ins. Co. v.
    14 United States Dist. Court, 881 F.2d 1486, 1494–95 (9th Cir. 1989) (declining to
    15 create an exception to the privilege where the information sought by the plaintiff
    16 was not available through any other source, and finding that such an unavailability
    17 exception would render the privilege “so tenuous and uncertain that it would be
    18 ‘little better than no privilege at all.’”).
    19         “The party asserting the attorney-client privilege has the burden of proving
    20 that the privilege applies to a given set of documents or communications.” In re
    21 Grand Jury Investigation, 974 F.2d 1068, 1070 (9th Cir.1992) (citation omitted).
    22 Typically, an eight-part test determines whether information is covered by the
    23 attorney-client privilege:
    24         “(1) Where legal advice of any kind is sought (2) from a professional
               legal adviser in his capacity as such, (3) the communications relating to
    25
               that purpose, (4) made in confidence (5) by the client, (6) are at his
    26         instance permanently protected (7) from disclosure by himself or by the
               legal adviser, (8) unless the protection be waived.”
    27
    28         Id. at 1071 n. 2(citation omitted).

                                                   6                Case No. 2:21-CV-02022-DOC-KES
                         LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 11 of 17 Page ID #:3663




     1         “The attorney-client privilege protects confidential disclosures made by a
     2 client to an attorney to obtain legal advice as well as an attorney’s advice in
     3 response to such disclosures.” SPS Techs., LLC v. Briles Aerospace, Inc., No. CV
     4 18-9536 MWF (ASX), 2020 WL 3050777, at *2 (C.D. Cal. Feb. 18, 2020). “The
     5 attorney-client privilege applies to communications between corporate employees
     6 and counsel, made at the direction of corporate superiors in order to secure legal
     7 advice.” Id. “Communications between a client and its outside counsel are presumed
     8 to be made for the purpose of obtaining legal advice.” See Am. Fed’n of Musicians
     9 v. 212 Prods. LLC, No. 20-cv-07255-JAK-KS, 2021 U.S. Dist. LEXIS 252718, at
    10 *13-14 (C.D. Cal. Sep. 27, 2021). “If a person hires a lawyer for advice, there is a
    11 rebuttable presumption that the lawyer is hired ‘as such’ to give ‘legal advice,’
    12 whether the subject of the advice is criminal or civil, business, tort, domestic
    13 relations, or anything else.” Munoz v. 7-Eleven, Inc., No. CV 18-3893-RGK
    14 (AGRx), 2019 U.S. Dist. LEXIS 109781, at *4 (C.D. Cal. May 1, 2019) (citing
    15 United States v. Chen, 99 F.3d 1495, 1501 (9th Cir. 1996)); Dickson, 2021 WL
    16 3148878 at *8 (“[T]here exists a presumption that when a person hires a law firm,
    17 ‘the firm [is] engaged for its legal knowledge,’ upon which the privilege attaches.”).
    18 see also Munoz, 2019 U.S. Dist. LEXIS 109781, at *5-8 (concluding after in camera
    19 review that the emails at issue were “paradigmatic of the attorney client privilege
    20 and do not present a close question” where the first email was from outside counsel
    21 to in-house counsel and the second email was from in-house counsel to an in-house
    22 executive that “forward[ed] outside counsel’s email and reference[d] a discussion
    23 about it.”).
    24         Of particular importance here, an attorney’s opinion regarding trademark
    25 availability is privileged. See Pac. Packaging Concepts, Inc. v. Nutrisystem, Inc.,
    26 No. CV 19-4755-ODW(EX), 2020 WL 6694339, at *2 (C.D. Cal. Sept. 11, 2020)
    27 (citing Fisons Ltd. v. Capability Brown Ltd., 209 U.S.P.Q. (BNA) 167, at *4
    28 (T.T.A.B. Nov. 26, 1980)) (“While a [trademark] search report itself is not

                                                  7                Case No. 2:21-CV-02022-DOC-KES
                        LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 12 of 17 Page ID #:3664




     1 privileged, any opinion by [a trademark] applicant’s attorney relevant thereto is
     2 protected by the attorney client privilege.”).
     3 IV.    ARGUMENT
     4        A.     Concealment of the Last Word of Redaction #11 Is Necessary
     5               to Protect an Attorney-Client Privileged Communication
     6        Le-Vel has established a prima facie case that the information redacted as
     7 Redaction #11, including the last word of the redaction, was properly withheld as
     8 attorney-client privileged. The last word of Redaction #11 should therefore remain
     9 redacted.
    10        As previously articulated in Le-Vel’s April 15, 2022 letter, Redaction #11
    11 contains an email chain between Messrs. Hoffman (an attorney and Le-Vel’s then-
    12 CLO), Mr. Camper (Le-Vel’s co-founder and co-CEO), and Mr. Gravette (Le-Vel’s
    13 co-founder and co-CEO) relating to
    14             Ex. E at 1, 2, 4-5. Specifically, Redaction #11 is a January 22, 2019
    15 communication from Mr. Camper to Mr. Gravette, which includes Mr. Hoffman,
    16                                                                                     . Id. at
    17 4-5; Sommers Decl. ¶ 24; Hoffman Decl. ¶ 25.
    18                                                                                   .2
    19        As a preliminary matter, the communication withheld in Redaction #11 is the
    20 quintessential type of communication covered by the attorney-client privilege. See
    21 e.g. SPS Techs., LLC, 2020 WL 3050777, at *2 (“The attorney-client privilege
    22 protects confidential disclosures made by a client to an attorney to obtain legal
    23 advice as well as an attorney’s advice in response to such disclosures.”); Munoz,
    24 2019 U.S. Dist. LEXIS 109781, at *5-8 (concluding after in camera review that the
    25 emails at issue were “paradigmatic of the attorney client privilege and do not present
    26
    27  Le-Vel has concurrently filed an application for leave for in camera review of
         2

    28 Exhibit 4, Redaction #11, pursuant to Local Rule 79-6.2.

                                                  8                Case No. 2:21-CV-02022-DOC-KES
                        LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 13 of 17 Page ID #:3665




     1 a close question” where the first email was from outside counsel to in-house counsel
     2 and the second email was from in-house counsel to an in-house executive that
     3 “forward[ed] outside counsel’s email and reference[d] a discussion about it.”).
     4 There is no “close question” here because, like the communications in Munoz, Mr.
     5 Camper
     6                                                                    . As
     7 communications with outside legal counsel are presumed to be for the purpose of
     8 obtaining legal advice upon which privilege attaches, relaying that advice to other
     9 corporate executives is privileged as well. See Am. Fed’n of Musicians, 2021 U.S.
    10 Dist. LEXIS 252718, at *13-14; Munoz, 2019 U.S. Dist. LEXIS 109781, at *4;
    11 Dickson, 2021 WL 3148878 at *8.
    12        Second, the entirety of Redaction #11 meets the eight-part standard for
    13 attorney-client privilege as follows (see In re Grand Jury Investigation, 974 F.2d
    14 1068, 1071 n. 2 (9th Cir. 1992)).
    15        (1) “Where legal advice of any kind is sought”: this requirement is met as the
    16 communication reflects
    17
    18                         . Ex. E at 2, 4-5.
    19        (2) “from a professional legal adviser in his capacity as such”: this
    20 requirement is met because the
    21                                                      . Id.
    22        (3) “the communications relating to that purpose”: the purpose of the redacted
    23 communication was to
    24        . Id.
    25        (4) “made in confidence”: both the underlying communication between
    26 Messrs. Hoffman and Camper and Finnegan, and Mr. Hoffman and Messrs. Camper
    27 and Gravette were made in confidence. Id.
    28        (5) “by the client”:

                                                  9                Case No. 2:21-CV-02022-DOC-KES
                        LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 14 of 17 Page ID #:3666




     1                                . Id.
     2         (6) “are at his instance permanently protected”; (7) “from disclosure by
     3 himself or by the legal adviser” and (8) “unless the protection be waived.” Nothing
     4 exists indicating that any party to the redacted communication, including both
     5 Finnegan and Le-Vel employees, disclosed or intended to waive the privilege
     6 attached to the subject communication. Indeed, Mr. Hoffman submitted a
     7 declaration stating that “at no time did I waive or intend to waive privilege in the
     8 redacted portions of this email chain.” Ex. E, Hoffman Decl. ¶ 24.
     9         Judge Guilford agreed that Redaction #11, with the exception of a single last
    10 word, is privileged. Dkt. 97-1 at 3, (stating “[a]ll other redactions in the six email
    11 chains relate to material that has been properly designated as protected by the
    12 attorney client privilege or work product exception, and are not ordered
    13 unredacted.”). But ordering the disclosure of that single word in an otherwise
    14 determined privileged communication would contextually reveal the very subject of
    15 the privileged communication between outside counsel (Finnegan) to Le-Vel. While
    16 the reasoning of Le-Vel’s letter brief applies to the entirety of Redaction #11, it
    17 applies with no less weight to the last word of the very same sentence Judge
    18 Guilford otherwise found privileged.
    19         Further still, the disclosure of that single word will create a substantial risk of
    20 misuse and prejudice for Le-Vel. For instance, TNC could probe Le-Vel’s witnesses
    21 regarding the “to-be-unredacted” word as appearing within the context of Exhibit 4.
    22 Yet Le-Vel’s witnesses would be placed in the untenable position of not answering
    23 such questions without risking inadvertent disclosure of the privileged
    24 communication. That inability would lead to rank speculation and guesswork about
    25 what legal advice was given. This very type of harm cuts against the core purpose of
    26 the attorney-client privilege doctrine of full and candid exchanges between client
    27 and counsel. See Dickson, 2021 WL 3148878, at *8 (purpose of the attorney-client
    28 privilege is to “encourage full and frank communication between attorneys and their

                                                  10               Case No. 2:21-CV-02022-DOC-KES
                        LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 15 of 17 Page ID #:3667




     1 clients and thereby promote broader public interests in the observance of law and
     2 administration of justice.”)(citation omitted); Id.(“Clients must be able to consult
     3 their lawyers candidly, and the lawyers in turn must be able to provide candid legal
     4 advice.”) (citation omitted).
     5        Finally, as noted in Le-Vel’s April 15, 2022 letter brief, Redaction #11 relates
     6 to                                                . See Ex. E at 4-5; Sommers Decl.
     7 ¶ 24; Hoffman Decl. ¶ 25. If the last word of this privileged communication is
     8 unredacted, it will improperly reveal a portion of that privileged
     9                        See Pac. Packaging Concepts, Inc., 2020 WL 6694339, at *2
    10 (“While a [trademark] search report itself is not privileged, any opinion by [a
    11 trademark] applicant’s attorney relevant thereto is protected by the attorney client
    12 privilege.”).
    13        As Judge Guilford did not find any waiver or exception to the attorney-client
    14 privilege protection regarding the last word of Redaction #11, Judge Guilford’s
    15 order to redact the last word of Exhibit 4 Redaction # 11 should be rejected. See
    16 Dkt. 97-1.
    17        B.       Having Shown the Redacted Word Is Privileged, the Word
    18                 Should Remain Redacted
    19        Le-Vel has met its burden of showing that the attorney-client privilege applies
    20 to the redacted material.
    21        First, that communication should remain redacted in its entirety as privileged
    22 regardless of whether the withheld information is relevant to any party’s claim or
    23 defense. Specially, Rule 26(b)(1) describes the scope of discovery as “any
    24 nonprivileged matter that is relevant to any party’s claim or defense and
    25 proportional to the needs of the case…” Fed. R. Civ. P. 26(b)(1)(emphasis added).
    26 Courts have been explicit that privileged matter is not discoverable, even if the
    27 matter is wholly relevant to the claims or defenses in the case.” Dickson, 2021 WL
    28 3148878, at *15; Real, 116 F.R.D. at 213 (“even relevant evidence is not

                                                   11               Case No. 2:21-CV-02022-DOC-KES
                         LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 16 of 17 Page ID #:3668




     1 discoverable if such evidence is privileged.”).
     2        Second, Judge Guilford did not find any waiver or other exception to the
     3 attorney-client privilege. Therefore, the entire Redaction #11 should remain
     4 withheld on this basis too. See Dickson, 2021 WL 3148878 at *15 (“And, it is well
     5 established that, absent waiver (not present here) or other exception (also not present
     6 here), the attorney-client privilege ‘cannot be overcome,’ even ‘by a showing of
     7 need.’”).
     8        Third and finally, Judge Guilford gave no reasoning for his ruling that
     9 “Exhibit 4: the last word of ‘Redaction # 11’ must be unredacted.” As such, Le-Vel
    10 was left to speculate the basis for the Special Master’s reasoning.
    11 V.     CONCLUSION
    12        For the foregoing reasons, Le-Vel’s partial objection to the ruling in the
    13 Special Master’s Order should be granted, and the entirety of Redaction #11 should
    14 remain redacted.
    15
    16
    17 Dated: May 18, 2022                      FINNEGAN, HENDERSON, FARABOW,
                                                 GARRETT & DUNNER, LLP
    18
    19                                          By:
    20                                                Morgan E. Smith (SBN 293503)
                                                      morgan.smith@finnegan.com
    21                                                Mark Sommers (pro hac vice)
    22                                                mark.sommers@finnegan.com
                                                      Patrick J. Rodgers (pro hac vice)
    23                                                patrick.rodgers@finnegan.com
    24                                                Daniel R. Mello Jr. (SBN 325714)
                                                      daniel.mello@finnegan.com
    25                                                FINNEGAN, HENDERSON,
    26                                                  FARABOW, GARRETT & DUNNER,
                                                        LLP
    27
    28                                                Alan Jay Weil (SBN 63153)

                                                  12               Case No. 2:21-CV-02022-DOC-KES
                        LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
Case 2:21-cv-02022-DOC-KES Document 98 Filed 05/18/22 Page 17 of 17 Page ID #:3669




     1                                            ajweil@kbkfirm.com
                                                  Amanda D. Barrow (SBN 313583)
     2
                                                  abarrow@kbkfirm.com
     3                                            KENDALL BRILL & KELLY LLP
     4
                                                  Attorneys for Le-Vel Brands, LLC
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                13               Case No. 2:21-CV-02022-DOC-KES
                      LE-VEL’S PARTIAL OBJECTION TO ORDER OF SPECIAL MASTER
